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6    Attorney for Defendant
     JESSICA JUAREZ
7

8                   IN THE UNITED STATES MAGISTRATE COURT
9
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           ) Case No.: 2:14 CR 276 JAM
                                         )
12                   Plaintiff,          ) STIPULATION AND ORDER MODIFYING
                                         ) CONDITIONS OF RELEASE
13
                                         )
     vs.                                 )
14
                                         )
     SILVA-SOTO, et al.,                 )
15
                                         )
                                         )
                     Defendants.
16

17
           Jessica Juarez, by and through her attorney, John R.
18
     Manning, Esq., and the United States of America, by and through
19
     its counsel, Samuel Wong, and Pretrial Services Officer Michael
20
     Evans, hereby jointly agree and stipulate to amend defendant’s
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     conditions of release as follows:
22
           "You shall participate in a program of medical or
23

24   psychiatric treatment, including treatment for drug or alcohol

25   dependency, as approved by the pretrial services officer. You

26   shall pay all or part of the costs of the counseling services
27   based upon your ability to pay, as determined by the pretrial
28   services officer."


                                            1
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 1
          Accordingly, all parties and Ms. Juarez agree with the
 2
     above modifications.
 3

 4   April 24, 2015                            /s/ John R. Manning
                                               JOHN R. MANNING
 5                                             Attorney for Defendant
                                               Jessica Juarez
 6

 7
     April 24, 2015                            Benjamin B. Wagner
 8                                             United States Attorney
 9
                                               /s/ Samuel Wong
10                                             SAMUEL WONG
                                               Asst. United States Attorney
11

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13   IT IS SO ORDERED.

14   Dated:    April 27, 2015
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